Case 08-14631-GMB           Doc 103-2 Filed 04/04/08 Entered 04/04/08 11:07:39                  Desc
                                Proposed Order Page 1 of 3



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

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  (212) 765-9100

  Proposed Attorneys for the Official Committee
  of Unsecured Creditors


  In re:                                                Chapter 11

  SHAPES/ARCH HOLDINGS L.L.C., et al.,                  Case No. 08-14631
                                                        (Jointly Administered)
                            Debtors.
                                                        Judge: Hon. Gloria M. Burns, USBJ


                  ORDER AUTHORIZING THE RETENTION OF HALPERIN
                        BATTAGLIA RAICHT, LLP AS COUNSEL
                    TO THE OFFICIAL COMMITTEE OF UNSECURED
                    CREDITORS, NUNC PRO TUNC, TO MARCH 31, 2008

            The relief set forth on the following pages, numbered two (2) and three (3), is hereby

  ORDERED.




  {00061561.1 / 0631-001}
Case 08-14631-GMB            Doc 103-2 Filed 04/04/08 Entered 04/04/08 11:07:39                  Desc
                                 Proposed Order Page 2 of 3
  (Page 2)
  Debtor:                    SHAPES/ARCH HOLDINGS L.L.C., et al.
  Case No.                   08-14631(GMB)
  Caption of Order:          ORDER AUTHORIZING THE RETENTION OF HALPERIN
                             BATTAGLIA RAICHT, LLP AS COUNSEL TO THE OFFICIAL
                             COMMITTEE OF UNSECURED CREDITORS, NUNC PRO
                             TUNC, TO MARCH 31, 2008


                      Upon the application of the Official Joint Committee of Unsecured Creditors

  (the “Committee”) of Shapes/Arch Holdings, L.L.C., et al., the above-captioned debtors and

  debtors-in-application for authority to retain Halperin Battaglia Raicht, LLP (“HBR”), as

  bankruptcy counsel to the Committee, under a general retainer, nunc pro tunc to March 31,

  2008; and upon the affidavit of Alan D. Halperin; and due and adequate notice of the

  application having been provided, as evidenced by the certificate of service filed with this

  Court; and the Court having jurisdiction to consider the application and the relief requested

  therein in accordance with 28 U.S.C. §§157 and 1334; and consideration of the application

  and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §157(b); and

  venue being proper before this Court pursuant to 28 U.S.C. §1409; and the Court being

  satisfied that (a) the employment of HBR is necessary and in the best interests of the

  Committee, unsecured creditors, and the estates, (b) HBR does not have or represent any

  interest adverse to the Committee or the estates, and (c) HBR is a “disinterested person” as

  that term is defined in §101(14) of Title 11 of the United States Code (the “Bankruptcy

  Code”); and good and sufficient cause appearing for the relief sought by the application; it is

                      ORDERED, that pursuant to §1103(a) of the Bankruptcy Code, the

  Committee is hereby authorized to retain HBR, as bankruptcy counsel to the Committee,

  under a general retainer, nunc pro tunc to March 31, 2008; and it is further




  {00061561.1 / 0631-001}
                                                   2
Case 08-14631-GMB            Doc 103-2 Filed 04/04/08 Entered 04/04/08 11:07:39               Desc
                                 Proposed Order Page 3 of 3
  (Page 3)
  Debtor:                    SHAPES/ARCH HOLDINGS L.L.C., et al.
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                             TUNC, TO MARCH 31, 2008


                      ORDERED, that HBR shall be compensated in accordance with the

  procedures set forth in §§330 and 331 of the Bankruptcy Code, the Federal Rules of

  Bankruptcy Procedure, and any orders issued by this Court.

                      ORDERED, that a copy of this Order shall be served on all parties-in-

  interest within seven (7) days hereof.




  {00061561.1 / 0631-001}
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